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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Helen C. Adams, Chief U.S. Magistrate Judge
Case No. 4:22-cr-00199-SHL-HCA                : Clerk’s Court Minutes – Status Conference
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                               : Defendant(s)
                                                           :
United States of America                                   : Wendt, et al
                                                           :
                                                           :
                                                           :
                                                           :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Mikaela J. Shotwell and Ryan Wade Leemkuil


Defendant(s) Counsel: Nick Klinefeldt for Bradley Eugene Wendt
                      Dean A. Stowers for Robert Allen Williams
Court Reporter: Tonya Gerke                      : Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
MOTION to Continue Trial [75]                                                       X             :
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_______________________________________________________________________________________________________________________________________

Proceedings:
Court and counsel are present via teleconference for a Status Conference. Court and counsel discuss [75]
MOTION to Continue Trial. Counsel makes a record regarding continuance of trial for Fall trial dates. Court
grants a continuance.

Dates are set as follows; Pretrial Motions due, May 15, 2023; Government Expert Disclosures due July 11,
2023; Defense Expert Disclosures due, August 11, 2023; Plea Entry Deadline, August 11, 2023; Jury Trial set
for September 11, 2023. Trial is anticipated to be 2 weeks in duration.

Order to follow.




Time Start: 1:30 PM
Time End: 1:46 PM
Date: February 16, 2023                                                                   /s/ P. Luthens
                                                                                          __________________________
                                                                                          Deputy Clerk
